Case 2:06-cr-00062-DBH Document 138 Filed 10/27/10 Page 1 of 2   PageID #: 992




                    UNITED STATES DISTRICT COURT

                               DISTRICT OF MAINE


UNITED STATES OF AMERICA             )
                                     )
                                     )
                                     )
v.                                   )    CRIMINAL NO. 06-62-P-H
                                     )
RYAN BUTTERWORTH,                    )
                                     )
                  DEFENDANT          )


        ORDER ON DEFENDANT’S MOTION TO AMEND SENTENCE


      I sentenced this defendant to the mandatory 20-year statutory minimum

sentence on February 22, 2007, because his offense involved more than 50

grams of crack and because the government filed an information under 21

U.S.C. § 851 that he had a prior felony drug trafficking conviction. The First

Circuit affirmed the sentence on December 20, 2007. Now the defendant seeks

to be re-sentenced under the more lenient crack sentencing provisions of the

Fair Sentencing Act of 2010.

      I DENY his motion to amend sentence.       The overwhelming weight of

authority is against applying the Fair Sentencing Act to those already

sentenced, let alone those whose sentences are already final. United States v.

Bell, No. 09-3908, 2010 WL 4103700, at *10 (7th Cir. Oct. 20, 2010)

(challenging on direct review sentence imposed prior to the enactment of the

Fair Sentencing Act); United States v. Brown, No. 10-1791, 2010 WL 3958760,

at *1 (8th Cir. Oct. 12, 2010) (same); United States v. Gomes, No. 10-11225,
Case 2:06-cr-00062-DBH Document 138 Filed 10/27/10 Page 2 of 2     PageID #: 993




2010 WL 3810872, at *2 (11th Cir. Oct. 1, 2010) (same); United States v.

Carradine, No. 08-3220, 2010 WL 3619799, at *12-13 (6th Cir. Sept. 20, 2010)

(same); United States v. Millhouse, No. 7:04-CR-85-F3, 2010 U.S. Dist. LEXIS

112988, at *6 (E.D.N.C. Oct. 22, 2010) (denying motion to reduce sentence);

United States v. Jones, No. 08-40, 2010 U.S. Dist. LEXIS 110423, at *3 (W.D.

Pa. Oct. 18, 2010) (same); United States v. Hughes, No. 07-33, 2010 WL

3982138, at *3 (W.D. Wis. Oct. 8, 2010) (same); United States v. Ohaegbu, No.

92-35, 2010 WL 3490261, at *1-2, (M.D. Fla. Aug. 31, 2010) (same).

      Thus, this case is unlike United States v. Douglas, Case No. 09-202 (D.

Me. Oct. 27, 2010), where today I have ruled that for sentences going forward

the provisions of the Fair Sentencing Act do apply, even if the criminal conduct

occurred before its enactment, August 3, 2010. I recognize that this outcome

will seem unfair to people like this defendant who was sentenced under the

harsher regime, but that is a decision that Congress has made and it is not for

me to change.


      SO ORDERED.

      DATED THIS 27TH DAY OF OCTOBER, 2010


                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE




                                                                               2
